                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 PAINTEQ, LLC                                         §
      Plaintiff,                                      §
                                                      §
 vs.                                                  §
                                                              Civil Action No. 4:21-cv-01339
                                                      §
 NORTH HOUSTON SURGICAL                               §
 HOSPITAL, LLC                                        §
      Defendant.                                      §

                 DEFENDANT’S ORIGINAL ANSWER, VERIFIED DENIAL,
                   AFFIRMATIVE DEFENSES, AND COUNTERCLAIM


         COMES NOW, Defendant North Houston Surgical Hospital, LLC (“NHSH”), and submits

this Original Answer to Plaintiff PainTEQ, LLC’s (“PainTEQ”) Verified Complaint (Doc. No. 1).

                        RESPONSE TO NUMBERED ALLEGATIONS

         Defendant responds to the numbered allegations in the Plaintiff’s Verified Complaint

(“Complaint”) as follows. All allegations not expressly admitted are hereby denied.

         1.    Defendant lacks knowledge sufficient to form a belief as to the truth of the

allegations in Paragraph 1 of Plaintiff’s Complaint, and therefore, leaves Plaintiff to its’ burden of

proof.

         2.    Defendant admits the allegations in paragraph 2 of Plaintiff’s Complaint.

         3.    Defendant does not contest subject matter jurisdiction.

         4.    Defendant does not contest personal jurisdiction.

         5.    Defendant does not contest venue.

         6.    Paragraph 6 sets forth allegations that do not require a response by Defendant. To

the extent a response is necessary, Defendant denies the allegations and legal conclusions stated

in paragraph 6 of Plaintiff’s Complaint.



                                                  1
         7.    Defendant lacks knowledge sufficient to form a belief as to the truth of the

allegations in paragraph 7 of Plaintiff’s Complaint, and therefore, leaves Plaintiff to its’ burden of

proof.

         8.    Defendant lacks knowledge sufficient to form a belief as to the truth of the

allegations in Paragraph 1 of Plaintiff’s Complaint, and therefore, leaves Plaintiff to its’ burden of

proof.

         9.    Defendant admits only that the referenced Customer Account Setup Form

(“Account Setup Form”) is a document that speaks for itself.

         10.   Defendant admits only that the referenced Account Setup Form is a document that

speaks for itself. Otherwise, the allegations in paragraph 10 of Plaintiff’s Complaint are denied.

         11.   Defendant admits only that the referenced Account Setup Form is a document that

speaks for itself. Otherwise, the allegations in paragraph 11 of Plaintiff’s Complaint are denied.

         12.   Defendant admits only that the referenced Pricing Agreement and Nondisclosure

Form (“Pricing Agreement”) is a document that speaks for itself.

         13.   Defendant admits only that the referenced Pricing Agreement is a document that

speaks for itself. Otherwise, the allegations in paragraph 13 of Plaintiff’s Complaint are denied.

         14.   Defendant denies the allegations in paragraph 14 of Plaintiff’s Complaint.

         15.   Defendant admits the allegations in paragraph 15 of Plaintiff’s Complaint.

         16.   Defendant admits only that PainTEQ sent, and NHSH received and paid three (3)

invoices for LinQ systems, for $        for each LinQ system, totaling $          . Defendant denies

the remaining allegations and legal conclusions in paragraph 16 of Plaintiff’s Complaint.

         17.   Defendant admits the allegations in paragraph 17 of Plaintiff’s Complaint.




                                                  2
         18.   Defendant admits only that the referenced Invoices are documents that speak for

themselves.

         19.   Defendant admits only that PainTEQ sent NHSH 44 invoices for 44 LinQ Systems.

Defendant denies the remaining allegations and legal conclusions in paragraph 19 of Plaintiff’s

Complaint.

         20.   Defendant denies the allegations and legal conclusions in paragraph 20 of

Plaintiff’s Complaint.

         21.   Defendant denies the allegations in paragraph 21 of Plaintiff’s Complaint.

         22.   Defendant denies the allegations in paragraph 22 of Plaintiff’s Complaint.

         23.   Defendant admits only that the referenced invoices are documents that speak for

themselves. Otherwise, the allegations in paragraph 23 of Plaintiff’s Complaint are denied.

         24.   Defendant admits only that the referenced account statement is a document that

speaks for itself. Otherwise, the allegations in paragraph 24 of Plaintiff’s Complaint are denied.

         25.   Defendant denies the allegations and legal conclusions in paragraph 25 of

Plaintiff’s Complaint.

         26.   Defendant admits the allegations in paragraph 26 of Plaintiff’s Complaint.

         27.   Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 27 of Plaintiff’s Complaint and, therefore, leaves Plaintiff to its’

burden of proof.

         28.   Defendant denies the allegations and legal conclusions in paragraph 28 of

Plaintiff’s Complaint.

                          COUNT ONE: BREACH OF CONTRACT

         29.   Defendant incorporates and re-alleges the responses set forth in paragraph(s) 1-26

above.


                                                 3
         30.   Defendant admits the allegations in paragraph 30 of Plaintiff’s Complaint.

         31.   Defendant admits only that the referenced Account Setup Form and Pricing

Agreement are documents that speak for themselves. Otherwise, Defendant denies the allegations

and legal conclusions in paragraph 31 of Plaintiff’s Complaint.

         32.   Defendant denies the allegations and legal conclusions in paragraph 32 of

Plaintiff’s Complaint.

         33.   Defendant denies the allegations and legal conclusions in paragraph 33 of

Plaintiff’s Complaint.

         34.   Defendant denies the allegations and legal conclusions in paragraph 34 of

Plaintiff’s Complaint.

         35.   Defendant denies the allegations and legal conclusions in paragraph 35 of

Plaintiff’s Complaint.

         36.   Defendant admits only that the referenced Account Setup Form and Pricing

Agreement are documents that speak for themselves. Otherwise, Defendant denies the allegations

and legal conclusions in paragraph 36 of Plaintiff’s Complaint.

                         COUNT TWO: SUIT ON A SWORN ACCOUNT

         37.   Defendant incorporates and re-alleges the responses set forth in paragraph(s) 1-26

above.

         38.   Defendant admits the allegations in paragraph 38 of Plaintiff’s Complaint.

         39.   Defendant denies the allegations in paragraph 39 of Plaintiff’s Complaint.

Specifically, Defendant denies that it agreed to pay PainTEQ $      each for 44 LinQ Systems.

         40.   Defendant denies the allegations and legal conclusions in paragraph 40 of

Plaintiff’s Complaint.




                                                4
         41.   Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 41 of Plaintiff’s Complaint and, therefore, leaves Plaintiff to its

burden of proof. Otherwise, Defendant denies the allegations in paragraph 41 of Plaintiff’s

Complaint.

         42.   Defendant denies the allegations and legal conclusions in paragraph 42 of

Plaintiff’s Complaint. Specifically, Defendant denies that the account is just and in accordance

with an alleged agreement between Defendant and PainTEQ.

         43.   Defendant denies the allegations in paragraph 43 of Plaintiff’s Complaint.

Specifically, Defendant denies that Plaintiff is owed $          for the 44 LinQ Systems.

                         COUNT THREE: UNJUST ENRICHMENT

         44.   Defendant incorporates and re-alleges the responses set forth in paragraph(s) 1-26

above.

         45.   The allegations in paragraph 45 consist of a legal conclusion to which no response

is necessary. Defendant admits only that Plaintiff has asserted a claim for unjust enrichment against

Defendant.

         46.   Defendant admits the allegations and legal conclusions in paragraph 46 of

Plaintiff’s Complaint.

         47.   Defendant admits the allegations and legal conclusions in paragraph 47 of

Plaintiff’s Complaint.

         48.   Defendant admits the allegations and legal conclusions in paragraph 48 of

Plaintiff’s Complaint.

         49.   Defendant admits the allegations and legal conclusions in paragraph 49 of

Plaintiff’s Complaint.




                                                 5
       50.     Defendant denies the allegations and legal conclusions in paragraph 50 of

Plaintiff’s Complaint. Specifically, Defendant denies that the net value of the LinQ systems

provided by PainTEQ is $            .

       51.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 51 of Plaintiff’s Complaint and, therefore, leaves Plaintiff to its

burden of proof. Otherwise, Defendant denies the allegations and legal conclusions in paragraph

51 of Plaintiff’s Complaint.

       52.     Defendant denies the allegations and legal conclusions in paragraph 52 of

Plaintiff’s Complaint, including its subparts. Specifically, Defendant denies that Plaintiff is

entitled to any of the relief sought in this paragraph.

                                   AFFIRMATIVE DEFENSES

       1.      Plaintiff’s claims are barred, in whole or in part, by the doctrines of estoppel,

waiver, and/or ratification.

       2.      Plaintiff’s claims are barred, in whole or in part, insofar as Plaintiff consented to

the acts it has alleged as breaches of contract.

       3.      Plaintiff’s claims are barred, in whole or in part, because the agreements upon

which Plaintiff brings suit applied to the first three purchases only, and the Parties had an

agreement that future purchases would be at a lower amount per unit based on volume. The Parties

thereafter reached an agreement whereby Defendant would pay Plaintiff $              per each LinQ

system provided by Plaintiff. Plaintiff then reneged on such agreement and brought this suit.

       4.      Defendant concedes that it agreed to pay $         for each LinQ system purchased.

Defendant further alleges that $        per unit exceeds the fair value of the LinQ system unit.

       5.      The “agreements” referenced in Plaintiff’s Complaint tell only half the story.

Plaintiff and Defendant agreed that the $          per unit price would apply only to the three test


                                                   6
units. Defendant paid $         for each of three test units. The Parties further agreed that pricing on

subsequent units would be based on the volume purchased and be subject to future agreement once

volume was established. Thereafter, the Parties agreed to $             per unit despite the fact that

Defendant could obtain similar products from other distributors and/or manufacturers for

substantially less.

        6.      After agreeing to the $        per unit price, Plaintiff unilaterally changed the deal

and tried to force Defendant to agree to buy unreasonable and unnecessary volumes of the LinQ

system. Defendant refused to give into Plaintiff’s pressure tactics. The parties agreed to $        for

the forty-four (44) units at issue. Defendant concedes it owes Plaintiff $         , however, Plaintiff

refuses to accept such amount in full satisfaction of its claims.

                                  ORIGINAL COUNTERCLAIM

        North Houston Surgical Hospital, LLC (“NHSH”) files this counterclaim against PainTEQ,

LLC (“PainTEQ”) and would respectfully show the Court as follows:

                              PARTIES, JURISDICTION, AND VENUE

        1.      Counter-claimant NHSH is a Texas limited liability company with its principal

place of business located in Houston, Texas.

        2.      Counter-defendant PainTEQ is a Florida limited liability company with its principal

place of business in Tampa, Florida.

        3.      The Court has subject matter jurisdiction under 28 U.S.C. § 1332 (diversity of

jurisdiction) because NHSH and PainTEQ are completely diverse in citizenship and the sum or

value of the matter in controversy exceeds $75,000, exclusive of interest and costs.

        4.      This Court has personal jurisdiction over PainTEQ because it transacts business in

Texas and in this district.




                                                   7
       5.        Venue is proper in this District under 28 U.S.C. § 1391(b), because a substantial

part of the events or omissions giving rise to NHSH’s claims occurred in this District.

                                   FACTUAL BACKGROUND

       6.        NHSH operates a surgical hospital in Houston, Texas.

       7.        In May 2020, NHSH and PainTEQ entered into an agreement whereby NHSH

agreed to purchase three (3) test units of PainTEQ’s LinQ Sacroiliac Joint Fusion System (“LinQ

System”) for $         each. The Parties agreed that future purchases of the LinQ System would be

at a reduced rate once volume was known.

       8.        NHSH paid PainTEQ $          each for the three (3) test units provided.

       9.        PainTEQ then provided forty-four (44) additional LinQ Systems. Based on this

volume, the Parties agreed that NHSH would pay PainTEQ $              per unit. The reduced rate for

the LinQ Systems was not contingent on specific volume requirements.

       10.       Thereafter, PainTEQ unilaterally modified the terms of the Parties’ agreement by

imposing unreasonable and unnecessary volume requirements on NHSH.

       11.       NHSH performed its obligations under the contract by paying PainTEQ $

each for the three (3) test units. PainTEQ breached its obligations to NHSH when it insisted that

NHSH pay $           each for the additional forty-four (44) LinQ systems, rather than the agreed

price of $       per unit.

       12.       PainTEQ further breached its obligations to NHSH by unilaterally imposing

unnecessary and unreasonable volume requirements on NHSH.

       13.       NHSH has engaged the undersigned law firm to represent it in this action and is

obligated to pay a reasonable fee for its services.

       14.       All conditions precedent to maintaining this action have occurred, been performed,

or have been waived.


                                                  8
                                     BREACH OF CONTRACT

          15.     This is an action against PainTEQ for breach of contract.

          16.     NHSH and PainTEQ entered into an agreement wherein NHSH agreed to pay

PainTEQ $             for the first three (3) LinQ systems only. NHSH paid PainTEQ $       each for

the three (3) test units.

          17.     The Parties thereafter agreed that future units purchased by NHSH would be at the

reduced rate of $           per unit. Despite this agreement, PainTEQ has continued to insist that

NHSH pay $             each for the 44 LinQ systems sent to NHSH.

          18.     Further, PainTEQ unilaterally modified the Parties’ agreement by attempting to

force unreasonable and unnecessary volume requirements on NHSH.

          19.     PainTEQ materially breached its agreement with NHSH by insisting that NHSH

pay $           each for the additional forty-four (44) LinQ systems, rather than the agreed rate of

$         per unit.

          20.     PainTEQ further breached its’ agreement with NHSH by unilaterally imposing

volume requirements for the LinQ Systems on NHSH.

          21.     As a result of PainTEQ’s breaches, NHSH has suffered actual damages, plus

consequential and other damages flowing from PainTEQ’s breaches in an amount to be determined

at trial, plus attorneys’ fees, costs, and interest.

                                           JURY DEMAND

          22.     Defendant/Counter-Plaintiff NHSH hereby demands a jury trial on all triable

issues.




                                                       9
                                          CONCLUSION

       WHEREFORE, Defendant North Houston Surgical Hospital, LLC requests that upon final

hearing in this matter, Plaintiff takes nothing and that the Court grant such other and further relief

to which North Houston Surgical Hospital, LLC may be justly entitled, including attorney’s fees

and costs.

                                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served on all counsel of record
on May 18, 2021, through the CM/ECF system.

                                                      /s/ Walter J. Cicack
                                                      Walter J. Cicack


                                                 10
